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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


    UNITED STATES OF AMERICA
    v.                                           CASE NO. 8:18-cr-234-T-35SPF
    ALLAN BURT GUINTO


              MOTION BY THE UNITED STATES FOR
         DOWNWARD DEPARTURE OF DEFENDANT'S SENTENCE
             BASED UPON SUBSTANTIAL ASSISTANCE

          Pursuant to the provisions of Section 5K1.1 of the United States

    Sentencing Guidelines, Title 18, United States Code, Section 3553(e), and

    Rule 35 of the Federal Rules of Criminal Procedure, the United States moves

    this Court to grant a four level reduction in the defendant's offense level and in

    support thereof states as follows:

                             MEMORANDUM OF LAW

          The Court, on motion of the government, may reduce a defendant's

    sentence to reflect a defendant's substantial assistance. USSG §5K1.1. Here,

    the defendant provided truthful and timely information to the United States,

    which resulted in one or more of his co-defendants pleading guilty or being

    convicted at trial. Accordingly, the United States believes that the defendant

    should receive a four level reduction in his offense level for his assistance.
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                                   CONCLUSION

          For the foregoing reasons, this Court should grant the government's

    motion for downward departure of defendant's sentence.

                                          Respectfully submitted,

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                                          United States Attorney


                             By:          /s/ Carlton C. Gammons
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                            CERTIFICATE OF SERVICE

          I hereby certify that on September 10, 2019, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system, which

    will send a notice of electronic filing to counsel of record.



                                             /s/ Carlton C. Gammons
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